             Case 2:13-cv-20000-RDP Document 2064 Filed 04/05/18 Page 1 of 2                                                FILED
                                                                                                                   2018 Apr-05 PM 04:50
                                                                                                                   U.S. DISTRICT COURT
                                                                                                                       N.D. OF ALABAMA




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD                          )         Master File No. 2:13-CV-20000-RDP
ANTITRUST LITIGATION                                   )
(MDL No. 2406)                                         )         This document relates to all cases.


                 ORDER REGARDING SECTION 1 STANDARD OF REVIEW
                          AND SINGLE ENTITY DEFENSE

         In accordance with the accompanying Memorandum Opinion, it is ORDERED as follows:

(1) Subscriber Plaintiffs’ Motion for Partial Summary Judgment on the Application of the Per Se

Rule (Doc. # 1348) is GRANTED; (2) Provider Plaintiffs’ Motion for Partial Summary Judgment

(Doc. # 1350) is GRANTED IN PART AND DENIED IN PART; (3) Defendants’ Motion for

Summary Judgment on Plaintiffs’ Section 1, Per Se, and Quick Look Claims (Doc. # 1353) is

GRANTED IN PART AND DENIED IN PART; and (4) Subscriber Plaintiffs’ Motion for

Partial Summary Judgment on Defendants’ “Single Entity” Defense (Doc. # 1434) is DENIED.1

         Defendants’ aggregation of geographic market allocations and output restrictions are due

to be analyzed under a per se standard of review. Their BlueCard program and other alleged

Section 1 violations are due to be analyzed under the Rule of Reason. Finally, there remain

genuine issues of material fact as to whether Defendants operate as a single entity with regard to

the enforcement of the Blue Marks.




         1
           In their briefs on the applicable standard of review, the parties presented their arguments in relation to the
various alleged anticompetitive restraints, rather than on a claim by claim basis. Therefore, the court has adopted this
approach. To the extent the parties need clarification regarding the standard of review applicable to the particular
counts in the amended consolidated class action complaints, they may request such clarification from the court.

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     DONE and ORDERED this April 5, 2018.



                             _________________________________
                             R. DAVID PROCTOR
                             UNITED STATES DISTRICT JUDGE




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